
378 U.S. 552 (1964)
HARRIS ET AL.
v.
VIRGINIA.
No. 57, Misc.
Supreme Court of United States.
Decided June 22, 1964.
ON PETITION FOR WRIT OF CERTIORARI TO THE SUPREME COURT OF APPEALS OF VIRGINIA.
Len W. Holt and Simon Lawrence Cain for petitioners.
Sol Goodman for respondent.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for writ of certiorari are granted. The judgment is vacated and the case remanded to the Supreme Court of Appeals of Virginia for consideration in light of Peterson v. City of Greenville, 373 U. S. 244, and Robinson v. Florida, ante, p. 153.
MR. JUSTICE DOUGLAS would reverse outright on the basis of the views expressed in his opinion in Bell v. Maryland, ante, p. 242.
